Everett Doak and Mary C. Doak, Petitioners, v. Commissioner of Internal Revenue, RespondentDoak v. CommissionerDocket No. 52191United States Tax Court24 T.C. 569; 1955 U.S. Tax Ct. LEXIS 146; June 30, 1955, Filed *146 Decision will be entered under Rule 50.  Deductions -- Ordinary and Necessary Expenses -- Depreciation, Meals, and Lodgings of an Owner-Operator of a Hotel. -- The expenses of operation of a hotel should be computed without eliminating portions of depreciation, cost of food, wages, and general expenses to represent the cost of meals and lodging furnished to an owner-operator of a hotel who lodged and ate in the hotel not for his own personal convenience but because it was necessary in connection with the operation of the hotel. John Wiseman, C. P. A., for the petitioners.Phillip O. North, Esq., for the respondent.  Murdock, Judge.  MURDOCK *569  The Commissioner determined a *147  deficiency of $ 190.34 in income tax of the petitioners for 1950.  The only issue for decision is "what portion, if any, of the hotel's depreciation, utilities, and cost of meals should be eliminated from petitioners' claimed business expenses incurred in the operation of the hotel during the taxable year 1950 by reason of their consumption by members of petitioners' family during said year."FINDINGS OF FACT.The petitioners, husband and wife, filed a joint income tax return for 1950 with the collector of internal revenue for the district of West *570  Virginia.  The return was filed on a cash receipts and disbursements basis.The petitioners owned and operated the Hotel Wells in Sistersville, West Virginia, during 1950.  Most of their income was derived from the operation of the hotel.The total depreciation on the hotel for 1950 was $ 1,923.24, and 6.4 per cent thereof, or $ 123.09, was eliminated by the petitioners from the business expenses and only the balance was claimed on their return.The cost of heat and light for the hotel for 1950 amounted to $ 1,652.64, and 6.4 per cent, or $ 105.77, was eliminated by the petitioners and not claimed on their return.The Commissioner, *148  in determining the deficiency, eliminated $ 547.50 from the cost of purchases, claimed as a business expense on the return, on the ground that it covered "personal drawings of food from hotel coffee shop estimated at $ 1.50 per day for 365 days."The petitioners owned and maintained a home at Middlebourne, West Virginia, which they occupied occasionally when their presence was not required at the hotel.The petitioners gave their full time and attention to the operation of the hotel and spent long hours performing duties at the hotel. They lived in utility rooms of the hotel, which rooms were also used for other hotel purposes.  They ate most of their meals at the hotel. It was necessary in the operation of the hotel that the two petitioners live in the hotel and eat the meals in the hotel which they actually ate there during 1950.  Their daughter was employed in the hotel for a part of 1950 and, for the convenience of the operators of the hotel, lived in the hotel and ate meals in the hotel while employed there.OPINION.The Court found it necessary in the case of George A. Papineau, 16 T. C. 130, to consider and decide whether the cost of food and*149  lodging furnished to an owner-manager of a hotel should be subtracted in computing income deductions of the hotel for ordinary and necessary expenses and depreciation. It was there held that meals and lodgings of an owner-operator of a hotel are ordinary and necessary expenses of the business where his presence in the hotel was not for his own personal convenience and benefit but was required in the operation of the hotel. It was there said in that connection that "it is in accordance with sections 22 and 23 of the Internal Revenue Code that the expenses of operation be computed without eliminating small portions of depreciation, cost of food, wages, and general expenses to represent the cost of his meals and lodging * * *." Board and lodging furnished the daughter as an employee were ordinary and necessary expenses of the business.  The present case is decided for the *571  petitioner upon authority of the Papineau case.  There is no dispute about the amounts.Decision will be entered under Rule 50.  